                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OKLAHOMA

1.      TIM HAMON,                 )
                                   )
                    Plaintiff,     )
                                   )
vs.                                )                    Case No. CIV-14-161-FHS
                                   )
1.      FARMERS INSURANCE          )
        COMPANY, INC.,             )
2.      J.D. POWER AND ASSOCIATES, )
        and                        )
3.      MITCHELL INTERNATIONAL, )
        INC.,                      )
                                   )
                    Defendant.     )

                                 STIPULATION OF DISMISSAL

        COMES NOW the Plaintiff, Tim Hamon, and Defendant Farmers Insurance Company, Inc.,

and stipulate that the Plaintiff’s claims against Farmers Insurance Company, Inc. are dismissed with

prejudice to their refiling, with each party to bear its fees and costs.

                                                Respectfully submitted,

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